JS 44 (Rev. 04/21)                                    CIVIL
                                    Case 2:24-cv-00046-AM   COVER1-1
                                                          Document SHEET
                                                                     Filed 05/23/24 Page 1 of 1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                           DEFENDANTS
          SEE ATTACHED.                                                                                     SEE ATTACHED.
    (b) County of Residence of First Listed Plaintiff               UVALDE                                  County of Residence of First Listed Defendant              UVALDE
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                            NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                       THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)
       CHAD MATTHEWS / MATTHEWS & FORESTER
       3027 MARINA BAY DR, SUITE 320
       LEAGUE CITY, TX 77573
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                        III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                         (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                ✘ 3    Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                             (U.S. Government Not a Party)                      Citizen of This State          ✘ 1        ✘ 1      Incorporated or Principal Place         4     4
                                                                                                                                                        of Business In This State

    2   U.S. Government                   4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                             (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                   Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                     Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                      Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                 TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                           310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                       315 Airplane Product                Product Liability        690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                 Liability                  367 Health Care/                                                    INTELLECTUAL                    400 State Reapportionment
    150 Recovery of Overpayment          320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment             Slander                        Personal Injury                                               820 Copyrights                    430 Banks and Banking
    151 Medicare Act                     330 Federal Employers’              Product Liability                                             830 Patent                        450 Commerce
    152 Recovery of Defaulted                 Liability                  368 Asbestos Personal                                             835 Patent - Abbreviated          460 Deportation
         Student Loans                   340 Marine                          Injury Product                                                    New Drug Application          470 Racketeer Influenced and
         (Excludes Veterans)             345 Marine Product                  Liability                                                     840 Trademark                         Corrupt Organizations
    153 Recovery of Overpayment               Liability                 PERSONAL PROPERTY                      LABOR                       880 Defend Trade Secrets          480 Consumer Credit
        of Veteran’s Benefits            350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
    160 Stockholders’ Suits              355 Motor Vehicle               371 Truth in Lending             Act                                                                485 Telephone Consumer
    190 Other Contract                       Product Liability           380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability   x   360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                            Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                         362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                             Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                      CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation                440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                      441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment           442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                    443 Housing/                        Sentence                                                           or Defendant)                896 Arbitration
    245 Tort Product Liability               Accommodations              530 General                                                       871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property          445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                             Employment                  Other:                       462 Naturalization Application                                             Agency Decision
                                         446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                             Other                       550 Civil Rights                 Actions                                                                State Statutes
                                         448 Education                   555 Prison Condition
                                                                         560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
V. ORIGIN (Place an “X” in One Box Only)
✘   1 Original             2 Removed from                      3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                              Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                               (specify)                 Transfer                          Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                          42 U.S.C. 1983 - 14TH AMENDMENT AND 4TH AMENDMENT.
VI. CAUSE OF ACTION Brief description of cause:
                                          WRONGFUL DEATH SUIT RELATED TO THE ROBB ELEMENTARY SCHOOL SHOOTING.
VII. REQUESTED IN                              CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                 ✘ Yes            No
VIII. RELATED CASE(S)
                                              (See instructions):
      IF ANY                                                           JUDGE                                                               DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
05/23/2024                                                                      Chad Matthews
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                    JUDGE                           MAG. JUDGE
